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                           UNITED STATES DISTRICT COURT
                              DISTRICT OF MINNESOTA
                           Criminal Case No. 99-278 (DWF/AJB)

UNITED STATES OF AMERICA,                    )                            USCA NO.
                                             )
                      Plaintiff,             )      District Court Judge - Donovan W. Frank/
                                             )                               Nancy E. Brasel
       vs.                                   )
                                             )                        NOTICE OF APPEAL
GREGORY LYNN MCCOY,                          )
                                             )
                      Defendant.             )

       Notice is hereby given that Defendant Gregory Lynn McCoy appeals to the

United States Court of Appeals for the Eighth Circuit from the Judgment in a Criminal

Case entered on June 22, 2022.

Dated: June 29, 2022                              LAW OFFICE OF JORDAN S. KUSHNER

                                                          By s/Jordan S. Kushner
                                                            Jordan S. Kushner, ID 219307
                                                            Attorney for Defendant
                                                            431 South 7th Street, Suite 2446
                                                            Minneapolis, Minnesota 55415
                                                            (612) 288-0545


                                TRANSCRIPT ORDER FORM

       Please prepare a transcript of the revocation hearing.


                             CERTIFICATE OF COMPLIANCE

       Appellant hereby certifies that the transcript of the revocation hearing has been ordered
through a completed CJA Form 24.

Attorney's Signature s/Jordan S. Kushner_________________           Date: June 29, 2022
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                                  INFORMATION SHEET

1.     Defendant's Address: Sherburne County Jail

2.     Date of Sentence: June 16, 2022, following finding of revocation of supervised release.
       Offenses: Armed Career Criminal in Possession of a Firearm, 18 U.S.C. § 922(g)(1)
       and 924(e);

       Trial Testimony - N/A.        Bail Status - Detained, awaiting transfer of custody to BOP

3.     Sentence and Date Imposed: 10 months (consecutive to 262 month sentence in Case No.
       20-150 (NEB/BRT), June 16, 2022.

4.     Appealing: Violation and Sentence.

5.     Date Trial Transcript ordered by Counsel or District Court: Transcript of revocation
       hearing order on June 29, 2022.

       Stenographer in Charge: Renee Rogge, 300 South 4th Street, Minneapolis, MN 55415;
       (612) 664-5107

6.     Trial Counsel was: Appointed

       Does Defendant's financial status warrant appointment of counsel on appeal? Yes
       Affidavit of Financial Status filed: Previously found eligible for public defender.

       Is there any reason why trial counsel should not be appointed as counsel on appeal? Yes.
       Defendant has requested appointment of new counsel for appeal of conviction of
       related case, No. 20-150 (NEB/BRT) where Defendant was convicted and sentenced to
       262 months. If new counsel is appointed in that case, it would make sense for the same
       counsel to handle both cases. The Public Defender's is available for appointment.

7.    Assistant U.S. Attorney Name and Phone Number: David MacLaughlin and Joseph
      Teirab, (612) 664-5600
_________________________________________________________________
                             Court Reporter Acknowledgment

Date Order Received                         Completion Date

Number of Pages ____________


Court Reporter's Signature                                  Date

                                               2
